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             IN THE UNITED STATES DISTRICT COURT
          FOR THE EASTERN DISTRICT OF PENNSYLVANIA

ELIZABETH BROWN & KIM         :                 CIVIL ACTION
EVANS-JOHNSON,                :
        Plaintiffs,           :
                              :
    v.                        :
                              :
WILLIAM PENN SCHOOL DISTRICT, :                 No. 18-03674
        Defendant.            :
                              :

                                   ORDER

      AND NOW, this 3rd day of August 2020, upon consideration of Plaintiffs’

Motion for a New Trial (ECF No. 89), Defendant’s Response in Opposition to the

Motion (ECF No. 97), and Plaintiffs’ Reply (ECF No. 98) it is ORDERED that

Plaintiffs’ Motion for a New Trial is DENIED.

      The Clerk of Court is DIRECTED to CLOSE this matter.



                                                BY THE COURT:

                                                /s/ Chad F. Kenney
                                                                  ____
                                                CHAD F. KENNEY, JUDGE
